Case 2:04-cr-20191-.]PI\/| Document 53 Filed 05/06/05 Page 1 of 2 Page|D 80

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IN THE UNITEI) STATES DISTRICT COURT
FoR THE WESTERN DISTRICT OF TENNESSEE 95 M.%‘r -6 .QH IU: 52
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UNITED STATES OF AMERICA,

Plaintiff,
VS. Docket No. 04-20191-MI
TOMMY FULLER,

Defendant.

 

ORDER ALLOWING WITHDRAWAL OF DEFENSE COUNSEL

 

IT APPEARING to the Court that Defendant’S oral motion in Cour't to allow defense
Counsel Stephen A. Sauer to Withdraw due to a conflict that has arisen is Well taken and ought to be
granted
IT IS THEREF()RE ORDERED, ADJUDGED AND DECREED that Stephen A. Sauer,
Attorney at Law, is hereby allowed to Withdraw as counsel of record for the Defendant, Tomrny

Fuller, in the case referenced above.

H~ 13 50 ORDERED. /QJ) mc @ll@

TH HONORABLE
JO PHIPPS MCCALLA
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UNITED sTATE DISTRIC COURT - W"NTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:04-CR-20191 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable .l on l\/lcCalla
US DISTRICT COURT

